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              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF GEORGIA
                   BRUNSWICK DIVISION
                             )
UNITED STATES OF AMERICA     )
                             )
            v.               )         CR: 2:20-CR-49
                             )
JAVIER SANCHEZ MENDOZA, JR. )
                             )

             GOVERNMENT’S NOTICE OF PLEA AGREEMENT

       NOW COMES the United States of America, by and through David H. Estes,

Acting United States Attorney for the Southern District of Georgia, and pursuant to

18 U.S.C. § 3161(h)(1)(G), notifies the Court that a plea agreement has been reached

by the parties which would dispose of the charges pending in the above-captioned

case against the defendant. A copy of the plea agreement has been provided to the

Court for its consideration. The government respectfully requests that the Court

schedule a Rule 11 proceeding and accept the defendant=s plea as set forth in the

proposed agreement.

                                      Respectfully submitted,

                                      DAVID H. ESTES
                                      ACTING UNITED STATES ATTORNEY

                                      /s/ Tania D. Groover

                                      Assistant United States Attorney
                                      Georgia Bar No. 127947
P.O. Box 8970
Savannah, Ga. 31412
(912) 652-4422




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